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                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF MICHIGAN
                                                                                                          NORTHERN DIVISION

                                                                              JAYSON WEST,
                                                                                                                         Case No. 16-12626
                                                                                    Plaintiff,
                                                                                                                         Hon. Thomas L. Ludington
                                                                              v.                                         Magistrate Patricia T. Morris

                                                                              LAKE STATE RAILWAY
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                                                                              COMPANY,

                                                                                    Defendant.
                                                                              ________________________________________________________________/
                                                                              SOMMERS SCHWARTZ, P.C.          FLETCHER & SIPPEL, L.L.C.
                                                                              Arvin J. Pearlman (P18743)      Janet H. Gilbert (Ill. 6186950)
                                                                              Benjamin J. Wilensky (P75302)   Peter C. McLeod (P80422)
                         SOMMERS SCHWARTZ, P.C.




                                                                              Attorneys for Plaintiff         Chloe G. Pedersen (Ill. 6294128)
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                                                                              One Towne Square, 17th Floor    Attorneys for Defendant
                                                                              Southfield, MI 48076            29 N. Wacker Dr., Ste. 920
                                                                              (248) 355-0300                  Chicago, IL 60606-2832
                                                                                                              (312) 252-1500
                                                                              ________________________________________________________________/

                                                                                   PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
                                                                                           AND FOR SANCTIONS PURSUANT TO RULE 37

                                                                                    NOW COMES the Plaintiff, JAYSON WEST, by and through his counsel,

                                                                              SOMMERS SCHWARTZ, P.C., and for his Motion to Compel Production of

                                                                              Documents and for Sanctions Pursuant to Rule 37 states as follows:

                                                                                    1.     This is an action brought under the Federal Employers’ Liability Act, 45

                                                                              U.S.C. § 51 et seq., arising from serious injuries suffered by the Plaintiff during the

                                                                              course and scope of his railroad employment.


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                                                                                    2.    Defendant served its initial disclosures pursuant to Fed R. Civ. P.

                                                                              26(a)(1) on September 28, 2016. In response to the requirement to disclose all

                                                                              documents which may be used to support its claim or defenses, Defendant

                                                                              “reserve[d] the right to withhold from disclosure any and all documents or things

                                                                              protected by the attorney-client privilege or attorney work product doctrine,” but did

                                                                              not provide a log of any allegedly privileged documents. Exhibit 1 at p. 4. It also
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                                                                              produced 371 pages of documents it “believe[d] are likely to bear significantly on

                                                                              any claim or defense in this case that is relevant to Plaintiff’s Complaint.”

                                                                                    3.    Plaintiff served his first requests for production of documents upon
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                                                                              Defendant on September 29, 2016, and Defendant responded to those requests
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                                                                              on October 27, 2016. In its response, Defendant lodged general objections “to the

                                                                              extent that they call for the production of documents protected from disclosure by

                                                                              the attorney client privilege,” and “by the attorney-work product privilege.” Exhibit

                                                                              2 at p. 1. Again, Defendant did not provide a log of any allegedly privileged

                                                                              documents.

                                                                                    4.    Among the documents requested in Plaintiff’s first requests for

                                                                              production of documents were “[c]opies of all accident reports with respect to the

                                                                              allegations in Plaintiff’s Complaint.”    Id. at p. 3, Request 10.      In response,

                                                                              Defendant did not lodge any objections or privileges beyond those asserted in its

                                                                              general objections. Id.


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                                                                                    5.    On May 9, 2017, Plaintiff took the deposition of Luke Jarvinen,

                                                                              Defendant’s former Operating Practices Manager, and one of Plaintiff’s

                                                                              supervisors. During the deposition, Mr. Jarvinen testified that he prepared a report

                                                                              in which, among other things, he asserted that Plaintiff had violated one or more

                                                                              of Defendant’s safety rules during the course of the incident in which he was

                                                                              injured.1
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                                                                                    6.    Plaintiff’s counsel asked Defendant’s counsel whether she had seen

                                                                              this document before, as Plaintiff’s counsel had not.           Defendant’s counsel

                                                                              responded that she had seen the document before, and that it was not produced
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                                                                              because Defendant claims that it is privileged. Defendant’s counsel did not specify
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                                                                              which privilege she was asserting – and indeed, it is difficult to imagine what

                                                                              privilege could cover a disciplinary report prepared regarding Plaintiff’s injuries.

                                                                                    7.    Plaintiff’s counsel asked why the existence of the document had never

                                                                              been disclosed on a privilege log. Defendant’s counsel responded that discovery

                                                                              is not yet closed, and that Defendant could choose when to supply a privilege log.

                                                                                    8.    Pursuant to Fed. R. Civ. P. 26(b)(5), a party withholding otherwise

                                                                              discoverable information as privileged or “trial-preparation material” must



                                                                              1As Mr. Jarvinen’s deposition was taken only yesterday, Plaintiff does not yet have
                                                                              a copy of the transcript. Undersigned counsel was present at the deposition. The
                                                                              relevant portions of the deposition transcript will be filed with the Court as soon as
                                                                              Plaintiff receives a copy of the transcript.

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                                                                              “expressly make the claim” of privilege, and “describe the nature of the documents,

                                                                              communications, or tangible things not produced or disclosed—and do so in a

                                                                              manner that, without revealing information itself privileged or protected, will enable

                                                                              other parties to assess the claim.” Thus, the Rule “requires a party withholding

                                                                              information on the basis of a privilege to provide sufficient information to enable

                                                                              evaluation of the claim.” SPX Corp. v. Bartec USA, LLC, 247 F.R.D. 516, 527
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                                                                              (E.D. Mich. 2008) (Lawson, J.).

                                                                                    9.    To meet the requirements of Rule 26(b)(5), “usually, assertions of

                                                                              privilege are accompanied by a document-by-document privilege log identifying
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                                                                              the date, type, subject, author, addressees and other recipients for each document
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                                                                              withheld and as to which a privilege is asserted.” United States v. Eaton Corp.,

                                                                              2012 U.S. Dist. LEXIS 115003, *17 (N.D. Ohio 2012) (Exhibit 3) (emphasis

                                                                              supplied); see also SPX Corp, 247 F.R.D. at 527.

                                                                                    10.   As Defendant has totally failed to provide a privilege log, Plaintiff was

                                                                              completely unaware that Defendant was withholding any documents based upon

                                                                              a claim of privilege, until such withholding was fortuitously revealed at Mr.

                                                                              Jarvinen’s deposition.     Indeed, the revelation that Defendant withheld Mr.

                                                                              Jarvinen’s report begs the question whether any other documents have been

                                                                              withheld, what those documents are, and whether they are truly privileged.




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                                                                              Defendant’s failure to provide a privilege log precludes Plaintiff from discovering

                                                                              the answer to that question, which he is clearly entitled to have.

                                                                                    11.   Needless to say, the failure to disclose that any documents were being

                                                                              withheld subject to privilege has precluded any determination as to whether

                                                                              Defendant’s assertion of privilege is legitimate. This is particularly improper given

                                                                              that “[t]he burden of establishing the existence of the privilege rests with the [party]
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                                                                              asserting it.” United States v. Dakota, 197 F.3d 821 (6th Cir. 1999).

                                                                                    12.   Fed. R. Civ. P. 34(b)(2)(B) requires a party responding to requests for

                                                                              production of documents to respond individually (including by objection) to “each
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                                                                              item or category.”    See also E.D. Mich. L.R. 26.1 (providing that “the party
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                                                                              answering, responding, or objecting to . . . requests for production of documents

                                                                              or things . . . shall either set forth the answer, response or objection in the space

                                                                              provided or shall quote each . . . request in full immediately preceding he statement

                                                                              of any answer, response, or objection thereto.”)

                                                                                    13.   Indeed, “boilerplate objections or blanket refusals inserted in a

                                                                              response to a Rule 34 request for production of documents are insufficient to

                                                                              assert a privilege.” Burlington Northern & Santa Fe Ry. v. United States Dist. Ct.,

                                                                              408 F.3d 1142, 1149 (9th Cir. 2005); see also Avery Dennison Corp. v. Four Pillars,

                                                                              190 F.R.D. 1 (D.D.C. 1999) (“[T]he general objection that, for example, a request




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                                                                              for production of documents calls for the production of documents which are

                                                                              privileged is condemned as insufficient.”).

                                                                                    14.   Defendant’s general objections, stated in blanket, boilerplate fashion

                                                                              at the beginning of its responses, were not sufficient to apprise Plaintiff that

                                                                              documents were being withheld in response to requests for any reports of plaintiff’s

                                                                              injuries, particularly given that Defendant made specific assertions of privilege in
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                                                                              response to other requests. See Exhibit 2 at p. 3, requests no. 9 and 11.

                                                                                    15.   The withholding of a “privilege log may subject a party to sanctions

                                                                              under Rule 37(b)(2) and may be viewed by the court as a waiver of any privilege
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                                                                              or protection.” Banks v. Office of Senate Sergeant-at-Arms, 222 F.R.D. 7, 20
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                                                                              (D.D.C. 2004) (citing Fed. R. Civ. P. 26 advisory committee’s note; Avery

                                                                              Dennison, supra, 190 F.R.D. at 2). Indeed, one district court found that a party

                                                                              waived its right to assert attorney-client privilege and work-production protections

                                                                              because they did not provide a privilege log until the plaintiff filed a motion to

                                                                              compel, and their responses only asserted general objections. Sonnino v. Univ.

                                                                              of Kansas Hosp. Auth., 221 F.R.D. 661, 668 (D. Kan. 2004); see also Peat,

                                                                              Marwick, Mitchell & Co. v. West, 748 F.2d 540, 542 (10th Cir. 1984) (“A party

                                                                              seeking to assert the privilege must make a clear showing that it applies. Failure

                                                                              to do so is not excused because the document is later shown to be one which

                                                                              would have been privileged if a timely showing had been made.”).


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                                                                                    16.   No legal basis exists for Defendant’s assertion that it may provide a

                                                                              privilege log whenever it pleases. As stated previously, assertions of privilege

                                                                              should be “accompanied by” a privilege log in order to satisfy Rule 26(b)(5). United

                                                                              States v. Eaton Corp., supra, 2012 U.S. Dist. LEXIS 115003 at *17 (Exhibit 3).

                                                                              Well over seven months have passed since Defendant served its initial Rule 26

                                                                              disclosures, and well over six months have passed since Defendant served its
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                                                                              responses to Plaintiff’s requests for production of documents. A privilege log has

                                                                              still not been provided to disclose and account for withheld documents.

                                                                                    17.   Under such circumstances, even if Defendant submitted a privilege log
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                                                                              now, that action would be impermissibly untimely. See Burlington Northern, supra,
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                                                                              408 F.3d at 1149 (“[T]he district court found a waiver [of privilege] where the log

                                                                              not only was not filed during the Rule 34 time limit, but was filed five months later.

                                                                              In the absence of mitigating considerations, this fact alone would immunize the

                                                                              district court’s ruling from reversal[.]” (emphasis in original)).

                                                                                    18.   The factors set forth by the Burlington Northern court (stated in

                                                                              boldface type below) each favor a finding that Defendant’s assertion of the

                                                                              privilege has been waived:

                                                                                          a. The degree to which the objection or assertion of privilege

                                                                                              enables the litigant seeking discovery and the court to evaluate

                                                                                              whether each of the withheld documents is privileged (where


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                                                                                            providing particulars typically contained in a privilege log is

                                                                                            presumptively sufficient        and boilerplate objections are

                                                                                            presumptively insufficient). Given that Defendant has failed to

                                                                                            identify documents it has withheld (let alone provide information

                                                                                            sufficient to evaluate the assertion of privilege), and has only

                                                                                            asserted boilerplate, blanket objections based on privilege, this
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                                                                                            factor clearly favors the waiver of Defendant’s assertion of privilege.

                                                                                         b. The timeliness of the objection and accompanying information

                                                                                            about the withheld documents (where service within 30 days,
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                                                                                            as a default guideline, is sufficient). As stated previously, more
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                                                                                            than seven months have passed since Defendant originally

                                                                                            asserted privilege, and no privilege log has been provided.

                                                                                         c. The magnitude of the document production. Plaintiff has no idea

                                                                                            how many documents have been withheld by Defendant. However,

                                                                                            the volume of document production in this case has been

                                                                                            comparatively modest.      This is certainly not a case where the

                                                                                            Defendant was forced to sift through hundreds of thousands of

                                                                                            documents in order to check for privilege.




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                                                                                            d. Other particular circumstances of the litigation that make

                                                                                               responding to discovery unusually easy or unusually hard. To

                                                                                               Plaintiff’s knowledge, no such circumstances exist here.

                                                                                    19.     Defendant’s willful failure is all the more egregious and vexatious given

                                                                              that its sharp tactics have been exposed less than a week before the close of

                                                                              discovery on May 15, 2017 – and the Court has stated that “[n]o further extensions
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                                                                              will be granted absent extraordinary circumstances.” Dkt no. 15 at p. 3. Absent

                                                                              action by the Court, Defendant’s failure to meet its discovery obligations will result

                                                                              in the (perhaps intended) effect of denying Plaintiff an opportunity to fully discover
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                                                                              his claims.
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                                                                                    20.     Fed. R. Civ. P. 37(a)(5)(A) states that the Court “must” order the “party

                                                                              . . . whose conduct necessitated the motion, the party or attorney advising that

                                                                              conduct, or both to pay the movant’s reasonable expenses incurred in making the

                                                                              motion, including attorney’s fees.” Plaintiff unsuccessfully sought concurrence in

                                                                              the relief requested in this motion before filing same, and no other circumstances

                                                                              are present which would render an award of expenses unjust.

                                                                                    21.     In light of the foregoing, Plaintiff respectfully requests that the Court

                                                                              order that:

                                                                                            a. Defendant’s claims of privilege regarding all withheld documents

                                                                                               are hereby waived, that Defendant must immediately produce


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                                                                                             unredacted copies of all withheld documents, and that Defendant

                                                                                             must certify under oath that all such withheld documents have been

                                                                                             produced.

                                                                                          b. Plaintiff only is permitted additional discovery (including new or

                                                                                             reopened depositions) based on information discovered in any

                                                                                             previously-withheld documents.
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                                                                                          c. In the lesser alternative, Plaintiff respectfully requests that the Court

                                                                                             Order that Defendant immediately produce a privilege log of all

                                                                                             withheld documents, and submit such documents for the Court to
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                                                                                             view in camera to determine whether the assertions of privilege are
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                                                                                             legitimate, and whether, at a minimum, redacted versions of such

                                                                                             documents should be produced.

                                                                                          d. Plaintiff additionally requests, in either case, that the Court order

                                                                                             that Defendant pay Plaintiff the fees and costs incurred in bringing




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                                                                                             this Motion, pursuant to Fed. R. Civ. P. 37(a)(5)(A).

                                                                                                                          Respectfully submitted,

                                                                                                                         SOMMERS SCHWARTZ, P.C.

                                                                                                                  By:    /s/ Benjamin J. Wilensky
                                                                                                                         ARVIN J. PEARLMAN (P18743)
                                                                                                                         BENJAMIN J. WILENSKY (P75302)
                                                                                                                         Attorneys for Plaintiff
                                                                                                                         One Towne Square, 17th Floor
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                                                                                                                         Southfield, MI 48076
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                                                                              Dated: May 10, 2017
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                                                                               BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL PRODUCTION
                                                                                OF DOCUMENTS AND/OR FOR SANCTIONS PURSUANT TO RULE 37


                                                                                    The facts and authorities in support of Plaintiff’s Motion are contained within

                                                                              the Motion itself. Plaintiff relies upon that Motion, and respectfully requests that

                                                                              the Court grant the relief requested therein.
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                                                                                                                         Respectfully submitted,

                                                                                                                         SOMMERS SCHWARTZ, P.C.

                                                                                                                  By:    /s/ Benjamin J. Wilensky
                                                                                                                         ARVIN J. PEARLMAN (P18743)
                         SOMMERS SCHWARTZ, P.C.




                                                                                                                         BENJAMIN J. WILENSKY (P75302)
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                                                                                                                         Attorneys for Plaintiff
                                                                                                                         One Towne Square, 17th Floor
                                                                                                                         Southfield, MI 48076
                                                                                                                         (248) 355-0300
                                                                              Dated: May 10, 2017


                                                                                                         CERTIFICATE OF SERVICE


                                                                                    Julie A. Rymill hereby certifies that on this 10th day of May, 2017, she filed
                                                                              the foregoing document with the Clerk of the Court via the Court’s ECF system,
                                                                              which will automatically serve the document upon all counsel of record.

                                                                                                                         /s/ Julie A. Rymill




                                                                                                                        -12-
